iN THE CHANCERY COURT FOR CAN'EPBELL COUNTY, TENNESSEE
DIANE MAUR|ELLO,
F’iaintif'f,
v.

No.//»~d’§/?

GREAT ANiERICAN E&S iNSURANCE
COMPANY

Defendant.

H_IVH.JVVWMV‘-¢_/H_r'

COMPLA!NT
Comes the Plaintift, Diane Maurieito, by and through counsel. and sues the
Deiendanta Great American E&S insurance Cornpany for declaratory relief pursuant to
T.C.A. §29-20-101 et seq., and compensatory damages in an amount to be proven at

trial, and for her cause ot action claims and alleges as follows:

1, `i'he Ptalntiff, Diane Ntaurielto, is a citizen and resident of the state of New _

Jersey.

2. The Deiendant, Great American E&S insurance Company (hereinafter
"Great American” or “Defendant"), is an insurance company doing business in State of
Tennessee, is part ot, and owned by the Great Arnerican insurance Group. This
Defendant may be served With process through the Tennessee Department ot
Commerce and insurance F‘iaintttf avers this Defendent is subject to personal
jurisdiction in the State of Tennessee pursuant to T.C.A. §20~2-214 (a)(4), that
Defendant has substantial contacts Within this state and its continued transaction Of
business in this state

3. \/enue is appropriate pursuant to T.C.A. §20-4-’101 in that the acts and

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omissions alleged herein occurred in Campbeil County, Tennessee. On or about the
313[ day of tvlay 2005, Piaintiit purchased title to the properties attached as Exhibit A
from \fiiiages at Norrls Lai<e, l_i_C, a Land Resource Company, for One lVliliion Fifteen
Thousand Doilars and no/iOO ($1,015,000.00). Eight l-iundred and Twelve 'l'housand

' Doilars and no/tOO ($812,000.00) of the purchase price Was financed by Branch
Banl<ing and Trust (“BB&T") through a iine of credit/promissory note, and secured With a
Deed of Trust. The promissory note/Deed of Trust are not attached to the Complaint
pursuant to Tennessee Rule of Clvii Procedure 'tO as Plaintif“f‘s ctain'l is not founded
upon these written instruments and the Deed ot `l`rust is a matter of public record
Such documents Wili be provided to Deiendant upon the appearance of ccunsel.

4. Specifically, Plaintiff purchased the property based upon the express
representations by Vi|iages at Norris Lake, t_LC and/or l_and Resource Company about
the development includingl put not timited to, certain amenities such as a ciubhouse,
marina, dock stips, adequate roads, and other common areas. Vi|tages at Norris i_al<e
personnel agreed to maintain the ability to build muttiple dwellings on lots, the ability to
build at least three bedroom residential housing on lots, the size of lots, tne avaiiabitity
and suitability of a septic system installationl and an environmentain sound soil test and
the promise of eventual connection to LaFo|iette Utilities sewer system

5. in the late fall 2005, Piaintitf discovered that the survey piat of her tots had
been altered. Her tot sizes had been adversely ohanged,
trees and shrubbery on Plainiirf‘s lots had been leveled, multiple dweiiings and muitiple
bedroom residential housing on Piaintiii‘s lots Were unavailabie, certain lots owned by
Plaintiif did not percoiate sufficiently for'septic system, certain lots failed soil tests, most

2

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ii not all of the promised amenities in common areas were :;tbandonedl and none ct the
commitments to tie any of Pialntifi’s iots into the LaFo||ette Utilities sewer system were
honored j

6. The Plaintiff avers that the aforementioned attributes of the deveiopment.
and lots she purchased were material to her vviiiingness to execute the tend sale
transactions

7. As a result, Pialntiff instituted a lawsuit in the Unlted States Distrlct Court
for the Eastern District Tennessee at i<noxvi|ie style Diane l\iiauriei|o v. Villaoes at Norris
Lake, l_LC and l.and Resource Companies, LLC, United Siates District Court Case No.
3:0?-cv-239 on June ibt 2007. An Arnended Comptaint was filed September “lOl 2007.
See attached Exhibit B Substantia| iitigation occurred in the federal court lawsuit and
the matter Was set for trial June 22, 2009. Plaintifi even procured a sort test expert, and
a valuation expert confirming that the actions taken by Viliages at Norris i_al<el l_i_C
and/or Land Resource Companies, Li_C cfiiciais had grossly devalued the property as
represented to Piaintlff. Yet, a suggestion of Bankruptcy was filed November 7, 2008,
and the federai court lawsuit was stayed Novernber 12. 2008. Upcn information and
beiief, the Bani<ruptcy of \!il|ages at i\torris Lal<e, i_l_Cll_and Resource Companies was
converted from Chapter 'li into Liquidation. Plaintitf sought and obtained a reiief from
the automatic stay in order to pursue whether any insurance coverage existed to satisfy
her claims On July 19, 2040 the stay was lifted Atter several montns, Piaintiff, through
counsel, did discover the existence of certain insurance policies in or around January
Z_>Oii.

8. Plaintiff avers that she, through counsei1 utiiized a subpoena duces tecum

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and discovered that Defendant issued to Land Resource Companies, Ll_C (hereinafter
"LRC") in various companies owned by LRC such as Vil|ages at i\torris Lal<e, LLC
(hereinafter "Viliages") various insurance policies to defend and indemnify these
companies from suits such as the one instituted by Plaintifi in federai court.

9. Specifically, Plaintifi avers that Defendants issued LRC and its affiliate
companies including ‘v'illages, the ioliowing policies For the policy period from
i-`ebruary 24, 2005 to February 24, 2006, Defendant issued policy number TER-592-7?’~
37. For the policy period from Februaty 24, 2006 to February 24, 2007, Defendant
issued policy number TER-471-93~70. For the policy period from February 24, 2007 to
February 24, 2008, Defendant issued policy number TER~925~65~84 to LRC and its
affiliate companies, including Vil|ages.

'iO. Yet, for whatever reason, Defendant did not defend LRC or Viliages in
Piaintift‘s federai court lawsuit instead, LRC and Viitages were forced to obtain counsel
utilizing their own tunds, and substantialiy litigate the claims by Piaintifi. The litigation
ceased only because of the Banl<ruptcy of these entities ret, upon lnformation and
beliefl the Defendant had a duty to Defend andfor indemnify LRC. and Vi|lages on
Plaintiff's claim.

it The Defendant has not fulfilled this obtigation, and has played no part in
the defense of Diane ivlaurlello v. Viiiades al Norris Lai<e. LLC and l_and Resource
t’;onnganiesl Ll_C, United States District Court Case No. 3:07-cv-239.

12. The Defendarrt, however, has sustained no prejudice as a resuit of its
iaiiure to participate as LRC and Villages were aptiy represented in the federal court
litigation by counsel untli the bankruptcy occurred lvioreover, because of. the

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bankruptcy's automatic stay, Defendant still has plenty of opportunity to defend and
potentially indemnify Piaintiii’s ciaim. in iact. Defendant has greatly benefited from its
non-participation as it has not had to expend any funds for attorney fees andior cost.

13. Plainiiif avers that she is an intended third party beneficiary to the
insurance contracts entered into between Defendant and LRCNillages. l.lpon
information and belief, the insurance contracts Were and are legally yalld. Further, the
Plaintiff ayers that the sole reason for entering into the insurance contract was to defend
end indemnify LRC/Vii|ages from claims such as the one prosecuted by the Pialntiff in
the aforementioned federal court litigation

WHEREFORE PREM|SES CONS|DERED, Pialniilf Diane Maurieilo, demands
judgment against the Defendant Great American E&S insurance Company for
declaration that it had a duty to defend and indemnify Land Resource Cornpanies
and/or Viiiages at i\lorris i.al<e, LLC for the claims made by Pialntltf in her Arnended
Comp|aini in the case styled Diane lyiaurielio y. Vii|ades at Norris i_eke. Ll_C and Land
Resource Companies. Ll.C. United Siates District Courl Case l\io. 3:07~cy~239, and for
compensatory damages in an amount to be proven at tria|, plus the cost of this cause,
and further demands a jury to try this cause

Respectfuliy submitted this giff{/`day of iylay, 2010.

DlANE MAUR|ELLO

TAYLOR, FLEESHMAN & KN|GHT, G.P.

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rOr//c

habeas i~<iiigiitt lit tenn #ieire)

800 South Gay Street
Suite 600

Knoxyii|e, TN 37929
(865) 971-1701

COST BOND

   
   

We hereby acknowledge ourselves as sur for the costs, taxes and damages in

this cause in accordance with T.C.A. § 20~12F

R, FLE

    
 

TAY 0

BY

  
  

 

Tay|or, Fieishrnan & Knight, G.P.
800 S. Gay Streel, Suite 600
l<noxviile, Tennessee 37929
(eos) annot

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EXH|B\T

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Thts histrumcnt Preparcd By: M
Pamcl; L. Whttc

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Attorncy At Law ~ .--"="'-¢l---'_"_’_r“_'__€_d

_ genuine fsa m`°°
300 Tyidt‘ Road gilth
Oai: Ridgc, TN 37830 `

TOlN- mm .
S!ME of llm$§£, BUCPBS.LL iian

WARRANTY DEED

’d-"
sr ~;".
TH{S iNDENTURE, made this 5/ " day ofMay 2005 by and between VILLAGE§_€_..

AT NORRIS LAKE, LLC. herein referred to as GRANTOR, and DlANE L.~ MAURIE]§‘O :_": a `.
herein referred to as GRANTEE.

 
 

` wi't‘ncssxt'rat

That thc GRANTOR, for and in consideration of the sum of One Doilar ($1-09), cash to
them in band paid by the GRANTEE raid other valuable considerations not mentioned hcrcin,

receipt of which is hereby acknowledged had granlcd, sold and conveyed and does hereby grani,
soil and convey unto the GRANTEE tch following described prcmiscs:

SITUATED in the Sccond Civil District of Campbell County, ‘I`cnnessce, within the corporate
limits of Grantsboro Comm\mity and being more particularly described as follows:

BEING designated as Lot 12 containing 0,48 ecrcs, Lot 13 containing 0.45 acrcs, Lot 39140
containing 0.7t acres, Lot 41/42 containing 0.6? acrcs, Lot GT!GSWITO containing 0.88 acres,
Lot 190/192!193 containing 0.89 acres, Lot 1941195'coniaining 0.65 aorcs, Lot 19611971'1£98“/

containing 0.79 acrcs, Lot 741198Ei200!201 containing '1.25 acros, Lii)t 204/206!208!209!210\?\1
containing 0-7_9 acrcs, Lot zluEnllili'z-W rauh-linton n 111 . ‘~'

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EXHIBIT
ilBlf

lN THE UNiTED STATES DISTF€FCT COURT FOR THE
EASTERN DISTRICT OF TENNESSEE
AT KNOXV[LLE

DlANE MAUR|ELLO,
F’|aintiff,
v.

No. 3.'07-ov-239

VILLAGES AT NORRIS LAKE, LLC.,
and LAND RESOURCE COMPANIES, LLC

l

-._.¢\._.,~._/~_../*~._.¢¢`,./~_»-...»WW

Deiendants.
AMENDED COMPLA|N!

Comes the P|aintiti, Diane ivleurlello, by and through counsel and sues the
Defendants, \/iilages at Norris Lal<e, LLC and Land Resource Companies, Ll_C, for
compensatory and punitive damages, attorney fees‘ the cost of this causel and for her
cause of action claims and alleges as fotiows:

l. PART|ES

t. The F’laintz`ft, Diane Mauriello, is a citizen and resident of the Staie of New
Jersey.

2. The Defenclant, Vi|lages at Norris Lake, LLC. is a t_lmiteci Liability Company
organized under the laws of the State of Georgia With its principal place of business located
at 2000 River Ectge Parkway, Suite 580, Atlanta, Georgie 30323. Service on this
Detendant may be effected through its registered agent National Regisiered Agents. |nc.,
1900 Churoh Streei, Suite 400l Nashville, Tennessee 37203.

3. The Defeodant Land Resouroe Compenles, LLC., is a Limited Liability

Company organized under the laws of the State of Georgia With its principal place of

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business located at 2000 River Edge Paritway, Suite 580, Atiartta, Georgia 30323. Servica
on this Defendant may be effected through its registered agentl Nati_onai Registere_d
Agents, |nc‘, 1900 Church Street, Suite 400, Nash\rtl|e, Terinessee 32203.
ii. JURlSDlCTlON AND VENUE

4. This Court has jurisdiction to hear this cause pursuant to 28 U.S.C. § 1332
in that there is complete diversity between the parties in this cause, and the amount in
controversy exceeds the sum of seventy~five thousand dollars ($75,000.00) exctosivs of
interest and cost. Piatntitt further avers that venue ls appropriate pursuant to 28 U.S.C. §
1391 in that a substantial part of the events and omissions giving rise to Piaintitt's
Complalnt occurred in this district

HIM

5. Detendant Land Resouroe Companies, LLC is engaged in business in
developing and setting reat property to the general public in Campbel| Couaty,
Tannessee. Defendant Land Resource Companies, t.LC is currently devetoping the
Vil[ages at Norris l.al<e in LaFo||ette. Tennesseethrou_gh Detendant\!i||ages at t\iorris Lake,
LLC. The Plaintiff is the owner of forty-one (41) parcels of real property constituting
sixteen (‘i6) lots within the Raint)ovv Richiands Resort area of said deveiopment. The
Warranty Deed indicating Platrltiff’s ownership of said lots are attached as Exhibit A.

6. P|aintiff avers that she is a good faith purchaser of land in the Raint;>ow
Richlands Resort area ot the Villages of Norris Lat<e. Plaintiff bought the various properties
based upon Defendants’ express representations about the development including but

not limited to, the amenities such as a ciut)house, marina1 dock stips, adequate roads, and

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other common areas to be maintained by the Deiendants; the abiiiiy to build multiple
dwellings on the lots Plalntiif's purchased the ability to build three bedroom residential
housing on lots Plaintiii‘s purchasedt the lot size of Plalntlii’s lots, the avaitabillty and the
suitability ct septic system instaliation on Pialntifi’s |ots, and environmentally sound soii
tests and/or the promise ot eventual connection to the LaFol|ette Utilities sewer system on
the lots F>laintlii purchased in reliance on the aforementioned representations Piaintiit
agreed to purchase, executed enforceable contracts for and purchased said lots
referenced by E><hibit A.

?. in late iall, 2005, Plaintlii discovered that the survey plat shown to her by the
Deiendants when she was considering purchasing the aforementioned lots was false,
known to be false by the Detendants. Plaintiii avers that she purchased all the lots based
upon the fraudulent survey plat and other representations made by the Defendants
concerning the attributes of the lots and the development P|aintih‘ further avers that she
has since discovered and believes that she was shown an inaccurate survey plat because
Deiendants knew that the lots Plaintiif purchased did not percoiate for the building of
muitiple dwellings and three bedroom homes were incapabte of supporting the septic
system, and had iaiied soil tests and the same was known to Detendants because of
previous testing done by the Defendants on the |ots. i\lioreover, the promised amenities
and common areas have been abandoned or altered to the P|aintiii‘s detrimentl and
Defendants have intentionally and/or negligently refused to honor any of its commitments
to tie any of Piaintiffs lots in to the LaFoliette Utilities sewer system despite the
unavaiiabiiity of a septic system

8. Pialntlit avers that all of the aforementioned attributes of the deveiopment,

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and lots she purchased were material to her willingness to execute the iand sale
transactions with the Deiendants. Pialntiff avers that Defendsnts misrepresented the
attributes ot the lots sold and the amenities of development with knowledge of their iaisity
at the time of the executed contracts with Plaintlft and in the closing of the properties.
Pialn'tiif reasonably relied on Defendants’ misrepresentations and sustained substantial
monetary loss as a result
!V. CAUSES OF ACTlON
COUNT |.

9. The aforementioned acts and omissions of the Defendants constitute fraud
and intentional misrepresentation for which Defendants are liable to Ptaintiff for
compensatory and punitive damages

COUNT |l.

lO. The aforementioned acts and omissions of the Defendants constitutes trover
conversion and/or trespass for which Defendants are liable to Plaintiff for compensatory
and punitive damages

COUNT ll|.

i‘l. The aforementioned acts and omissions of the Defendahts constitute breach
of contract for which Deiendants are liable to the Plainliff for ali consequential damages
arising from Defendants‘ breach of contractl

COUNT lV.
t2.` Alternatively, F’laintiff avers that the aforementioned acts and omissions

constitute negtigent misrepresentation for which Deiendants are liable to the Plaintlfi for

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compensatory and punitlve damages

WHEREFORE. premises consideredl Piainiiii` Diane lviaurieito, demandsjudgrnent
against Detendants, Viliages at Norris Lal<e, LLC and Land Resouroe Companles, LLC,

Gin the following manner:

(A) That the Plaintlit he awarded compensatory damages in ah amount to be
proven at tria|;

(B) That the Plaintiff be awarded punitive damages in an amount to be proven
at trial;

{C) That the Plaintiff be awarded attorney fees and costs for the real estate
contracts executed in this cause;

(D) That the Ptalntiff be awarded her costs, inciuding all discretionary costs;

(E) That the Piatntllf have such other and general relief to which Plaintiif shows
herself entitled;

(F} Plaintiff demands a jury to try this cause.
Respectfuiiy submitted,

lszrthur i-". l<nidht‘ lil

Arthur F. i<night. lll. BPR#OiS'i?S
Becl<er, Fleishrnan & Knight, P.C.
Post Office Box 1710 .
i<noxvitie, TN S?QOi-i Yt 0

(865) 522-505?

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CERT|F!CATE OF SERV!CE

t hereby certify that l etectronically filed the foregoing With the Cleri< of Court using

the ECF system which sent notification of such filing to the following parties:
J, Gregory Grisham
Weintraut:), Stoci< & Grisharn, P.C.
1715 Aaron Brenner, Suite 512
ivlernphis tennessee 38120

on this 13"‘ day of August, 2007.

/sf Arthur F. Knight, til

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.... AEJS.~

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STATE OF TENNESSEE
Daparfment of Commarce and lnsuram:e
500 James Rohertson Parkway
Nashvine, memos-1131
Pl-r . 615.532.5260, Fx - 615.532.2138 ;,:,;5 .

hrenda.meade@tn.gov
non t .. ;”ii ii
AUQUSt 10, 2011 (;:i€ftitr't:rn. ..‘,,_»_;; ;5;,3' r'_‘._‘;.`
Cctp. target i.}c,'_‘.t_
Great American insurance Cornpany Certified Mait
49 East Fourth Street, Ste 700 North Return‘ Receiot Reouested
Cincinnati, OH 45202-3803 ?011 04?0 0000 5066 1848
NAIC # 16691 Cashier # 4555

Re: Diane Maurle|io V, GreatAmerioanlnsorance Cornpany

Docket # ’i '1~069

To Whorn lt May Concern:

Pnrsuant to Tennessee Code Annotated § 56-2~504 or § 56-2~606, the Department of _
Comrnerce and insurance was served August 3, 2011, on your behalf in connection with the
above-styled proceeding Documentation rotating to the subject is herein enclosed

Brenda C. N|eade
Designated Agent
Servioe of Process

Enclosures
co: Chancery Court Cieri<
Campbe|i County

P 0 Box 182
Jaoi<sboro, Tn 37757

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DEFENDANTS COPY '

IN THE CHANCERY COURT FOR CANlPBELL COUNTY. TENNESSEE

DIANE MAURlELi_O,

)
‘ _ )
Plarntiif, )
)
v. ) No. ' 00
)
GREAT AMERICAN E&S INSURANCE)
COMPAN}ES )
)
Deiendant. l
S U M Nl O b_{_§

To the above-named Defendant: Great Amerlcan insurance Companies
cfc Deparirnent of Commerce and lnsurance
500 denies Roberison Pari<way
Nashviite, T-N 37243

You are hereby summoned and required to serve upon Arthur F. Knight, ili\
P|aintitts' attorney, whose address is Tay|or. Fioishrnan & Knlght, G,P., 800 South Gay
Sireet. Suite 600. i<noxviile. TN 37929, an answer to the Coniptaint herewith served upon
you within 30 days after service of this Suinmons and Cornpiaint upon you, exclusive of
the day of service if you fail to do so, judgment by default can be taken against you for
the reiiei demanded in the Cornp|aint.

lssue and tested this £5$:?; day of_CBQ/_\£_»Z(_, 2011.

C'l;é/%» 2 N/W//v»l
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ruty Cleri<

 

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To the Defendant:

U__Qs.`[.t§._|.i.

Great Amerioan insurance Companies

cio Department of Commerce and insurance
500 James Robertson Pari<way

Nashviile, TN 37243

Tennessee law provides a tour thousand doilar ($4,000) personat property exemption from
execution or seizure to satisfy a judgment if a judgment should be entered against you in this
action and you wish to ciaim property as exempt with the oierl< of the court. The list may be filed
at any time and may be changed by you thereafter as necessary; however, unless it is died before
the judgment becomes ilnai, il wi|i not be effective as to any execution or garnishment lssued prior
to fiiing of the |ist. Cerlain items are automatically exempt by iaw and do not need to be iisted;
these include items of necessary wearing apparel for yourself and your family and trunks or other
receptacies necessary to contain such appare|. famiiy portraits, the famiiy Blbie, and school books.
Should any of these items be seized, you would have the right to recover them. if you do not
understand your exemption right or how to exercise it, you may wish to seek the counsei of a

lawyer.

SERV|CE lNFORMATiON

To the process server: Great Amerlcan insurance Companles

cio Department of Commerce and insurance
500 Ja_mes Robertson Parkway
Nashvi|ie, TN 37243

RETURN

i received this summons on the day of , 2011.

l hereby certify and return that on the day of ,_,_,___,,_,_____i

2011, l:

[ j served this Summons and Complainton DefendantGreat American
insurance Companies, |n the foilowing manner:

 

 

 

i ] failed to serve this Sumrnons within 30 days after its issuance because:

 

 

 

 

F’ROCESS SERVER

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